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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

STATE OF OKLAHOMA,                        )
                                          )
                     Plaintiff,           )
                                          )
vs.                                       )             Case No. CIV-24-00461-JD
                                          )
MIGUEL CARDONA, in his official capacity )
as the Secretary of Education; and UNITED )
STATES DEPARTMENT OF EDUCATION, )
                                          )
                     Defendants.          )

                    ORDER SETTING EXPEDITED BRIEFING

       Before the Court is Plaintiff’s Motion for Preliminary Injunction (“Motion”).

[Doc. No. 21] filed on June 28, 2024. The Motion seeks a preliminary injunction or stay

barring a Department of Education Final Rule from going into effect on August 1, 2024.

       Under Local Civil Rule 7.1(g), this matter is set for expedited briefing. Any

response brief by Defendants shall be filed on or before Tuesday, July 16, 2024. Any

reply brief by Plaintiff (to address new information or material only) must be filed no

later than Thursday, July 18, 2024.

       As with all motions before this Court, the parties are expected to confer and see if

they can reach any agreements on the Motion. If the issues described above are resolved

by agreement at any time, counsel shall immediately notify the Court.

       IT IS SO ORDERED this 3rd day of July 2024.
